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IN THE UNITED sTATEs DISTRICT coURT
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WESTERN DIVISION

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JOE WILLIAM FORD, JR., VMD.OFTN,MCM H

Plaintiff,
vi

No. 05-2017 Ma/V

CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER GRANTING PLAINTIFF'S MOTION FOR LEAVE TO AMEND COMPLAINT

 

Before the court is plaintiff Joe William Ford, Jr.'s (“Ford”)
“Motion For Leave to Amend Complaint,” filed on March 29, 2005.
Defendants City of Memphis, Officer K. Workman, individually and as
an employee of the Memphis Police Department, and Officer Marvin.A.
Richardson, individually and in his official capacity as officer
and employee of the Memphis Police Department, have not filed a
response.1

“Rule 15(a) governs amendments to pleadings and provides that
after a responsive pleading is filed, ‘a party may amend the
party's pleading only by leave of court or by written consent of

the adverse party; and leave shall be freely given when justice so

 

lFord states in the Certificate of Consultation filed with his motion that
his counsel “has consulted with opposing counsel regarding Plaintiff's Motion for
Leave to Amend Complaint and Mr. Klein and Ms. McKinney are unable to consent but
will not file an objection [to] said motion.” Mr. Klein is the lead counsel for
the City of Memphis. Ms. McKinney is the lead counsel for the two individually
named officers.

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requires.' Fed. R. Civ. P. 15(a). Leave to amend may be denied when
it would result in undue delay, prejudice to the opposing party, or
repeated failure to cure deficiencies in the complaint.” Phelps v.

McClellan, 30 F.3d 658, 662 (Gth Cir. 1994) (citing Foman v. Davis,

 

371 U.S. 178, 182 (1962); DuChOn V. Cajon CO., 791 F.2d 43, 48 (6th
Cir. 1986)). For good cause shown, the court GRANTS Plaintiff's

motion.

T|‘l'day of June 2005.

M//M__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

So ordered this

 

 

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This notice confirms a copy of the document docketed as number 21 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

